     Case 5:18-cv-01081-FMO-SK Document 21 Filed 11/15/18 Page 1 of 2 Page ID #:72




 1   NICOLA T. HANNA
     United States Attorney
 2   DAVID M. HARRIS
     Assistant United States Attorney
 3   Chief, Civil Division
     JOANNE S. OSINOFF
 4   Assistant United States Attorney
     Chief, General Civil Section
 5   SARAH QUIST (Cal. Bar No. 288264)
     Assistant United States Attorney
 6         Federal Building, Suite 7516
           300 North Los Angeles Street
 7         Los Angeles, California 90012
           Telephone: (213) 894-0609
 8         Facsimile: (213) 894-7819
           E-mail: sarah.quist@usdoj.gov
 9
     Attorneys for Defendant
10   FEDERAL RETIREMENT THRIFT
     INVESTMENT BOARD
11
12                            UNITED STATES DISTRICT COURT
13                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
14                                    EASTERN DIVISION
15
16   Michael J. Pravetz,                          No. 5:18-cv-01081-FMO-SK
17               Plaintiff,                       STIPULATION TO CONTINUE THE
                                                  SCHEDULING CONFERENCE
18                      v.
                                                  Honorable Fernando M. Olguin
19   Federal Retirement Thrift Investment         United Stated District Judge
     Board,
20
                 Defendant.
21
22         IT IS HEREBY STIPULATED by and between the parties, subject to Court
23   approval, to continue the scheduling conference to January 24, 2019, or alternatively, to
24   stay the scheduling conference until after the Court has had an opportunity to rule on the
25   pending venue motion.
26         On October 10, 2018, Defendant filed a Motion to Dismiss for improper venue
27   and noticed the hearing for November 8, 2018. (ECF 14.) On October 11, 2018, the
28   Court issued an Order setting a scheduling conference for November 15, 2018, at 10:00
                                                 1
     Case 5:18-cv-01081-FMO-SK Document 21 Filed 11/15/18 Page 2 of 2 Page ID #:73




 1   a.m., and on October 30, 2018, the Court continued the scheduling conference to
 2   December 6, 2018. (ECF 15, 19.) On November 2, 2018, the Court took the motion
 3   hearing off calendar. (ECF 20.)
 4         A continuance of the scheduling conference will conserve the resources of the
 5   Court and parties. The outcome of the motion may obviate the need for the conference.
 6         This is the second request to reschedule the scheduling conference.
 7         A proposed order is being lodged herewith.
 8
 9    Dated: November 15, 2018               LAW OFFICE OF ROBERT F. KEEHN
10                                           /s/
                                             Robert F. Keehn, Esq.
11
                                             Attorney for Plaintiff
12                                           Michael J. Pravetz
13
14    Dated: November 15, 2018               NICOLA T. HANNA
                                             United States Attorney
15                                           DAVID M. HARRIS
                                             Assistant United States Attorney
16                                           Chief, Civil Division
                                             JOANNE S. OSINOFF
17                                           Assistant United States Attorney
                                             Chief, General Civil Division
18
                                             /s/ Sarah Quist
19                                           SARAH QUIST
20                                           Assistant United States Attorney

21                                           Attorneys for Defendant
                                             FEDERAL RETIREMENT THRIFT
22                                           INVESTMENT BOARD

23   Attestation of Filer: I attest that the other signatory listed, and on whose behalf this
     filing is submitted, concurs in the filing’s content and has authorized the filing.
24   Dated: November 15, 2018                 /s/ Sarah Quist
                                              SARAH QUIST
25
26
27
28
                                                  2
